Case 1:19-cv-10203-IT Document 160-13 Filed 01/20/22 Page 1 of 2




                     EXHIBIT M
             Case 1:19-cv-10203-IT Document 160-13 Filed 01/20/22 Page 2 of 2
                                                                     LarsonP3002001



               [8/22/18, 1:59 PM]                                                          7
               Hi! Thank you so damn much for checking in, and sorry for the delay! I feel
  Lisa Borders sort of blue/enraged/disappointed, but overall better. Despising Dawn with a
               fiery passion. In Minnesota right now though, which is awesome. How are
               you??
  Yael         [8/16/18, 1:48 PM]
  Goldstein    Um, dawn dorland just started following me on Twitter. WTF
               [8/16/18, 9:09 AM]
  Sari Boren
               Everyone thinks Dawn is wrong.
               [8/16/18, 9:08 AM]
  Sari Boren
               If they are, they think Dawn is in the wrong
               [8/15/18, 10:01 AM]
  Cathy Elcik Just adding my small voice in support of team Sonya: I'm so sorry, and fuck
               Dawn.
               [8/14/18, 2:09 PM]
  Celeste Ng
               Is the goal to get Dawn to go away forever, or for compensatory damages?
               [8/13/18, 10:50 PM]
  Becky Tuch
               Dawn is going to HURT
               [8/13/18, 5:34 PM]
               did I not say this earlier? He said that since you have a pr bono lawyer (or
  Celeste Ng will get one who does litigation) you shuld file suit against Dawn, because
               now there has been actual harm caused to you—lost of publication of this
.              story and publicity, as well as damage to your reputation.
               [8/13/18, 5:33 PM]
  Celeste Ng
               The first thing Matt said was that you should file suit against Dawn.
               [8/13/18, 5:33 PM]
  Celeste Ng
               No, I would sue Dawn
               [8/13/18, 5:32 PM]
  Celeste Ng Wait, I’m confused—who is litigating against whom? You are suing the BBF,
               they are suing you, or Dawn is suing you? Or you are suing Dawn?
               [8/13/18, 5:31 PM]
  Celeste Ng
               Or are you talking about litigation with Dawn?
  Whitney      [8/13/18, 1:29 PM]
. Scharer      Like I literally cannot believe Dawn wins this
               [8/12/18, 11:01 AM]
  Sari Boren
               Maybe they’re waiting until Dawn sues me or something                        _J
